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                                                                       Consl. Nos. 15-l139C, l5-1140C
                                                                          Filed: September 30, 201 6
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                                                                                                         +                            sEP 3 0   20t6
MICHAEL HADDAD,                                                                                                                      U.S. COURT OF
                                                                                                                                    FEDERAL CLAIMS
                   Plaintiff, pro se,


                                                                                                             Patent Infringement, 28 U.S.C. 91498(a);
THE UNITED STATES,                                                                                           Rule 12(b)(1) ofthe Rules of the United
                                                                                                                States Court ofFederal Claims Subiect
                   Defendant,                                                                                   Matter Jurisdiction;
                                                                                                             Standins.
and

BAE SYSTEMS INFORMATION          *
SOLUTIONS, INC., TRANS DIGITAL   *
TECHNOLOGIES LLC and MORPHOTRUST *
USA, LLC, and NCR GOVERNMENT ,k
SYSTEMS, LLC,                    ,i
                                 *
      Third-Party Defendants.
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                                                                        ORDER DISMISSING CASE

       On October 6,2015, Mr. Haddad filed twopro se Complaints in the United States Court
of Federal claims fbr infringement of United states Patent No. ?,639,844 ("the 'g44 patent"),
pursuant to 28 U.S.C. $1a98(a). on April 27,2016, the Govemment filed a Motion To Dismiss,
pursuant to Rule 12(b)(l) of the United states court of Federal claims, arguing that Mr. Haddad
did not have standing, as he had transferred all of his rights in the '844 patent to Astomer
Technologies, Inc. prior to filing the Complainls.

     On July 14,2016, the court issued a Memorandum Opinion and Order denying the
Govemment's April27,2016 Motion To Dismiss, but ordering Mr. Haddad within forty-five days
to show cause why these cases should not be dismissed . See Haddad v. [Jnited States,I 27 Fed. Cl.
565 (2016). J'herein, Mr. Haddad was ordered to provide documentation to establish that, at the
time the october 6, 2015 complaints were filed, he owned the '844 patent or it reverted to him,
either by agreement with Astomet Technologies, Inc., or otherwise under relevant state law.




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       On August 23,2016, Mr. Haddad filed a Brief In Support Of The Court Decision Of July
14,2016, however, he provided the attached February l, 2014 letter. ECF No. 38, Ex. L
According to Mr. Haddad, this letter was notarized on August 19,2016. ECF No. 39 at l. This
document, however, does not establish that Mr. Haddad owned the '844 Patent on October 6, 2015.
See Diamond Coating Techs., LLC v. Hyundai Motor Am. 823 F.3d 615,621 (Fed. Cir. 2016)
(nunc pro /lnc assignments do not confer retroactive patent ownership). Likewise, Mr. Haddad's
September 26, 2016 Reply fails to establish ownership of the '844 Patent.

           Accordingly, the court has determined that the October 6, 2015 Complaint Nos. 15- 1 139C
and 15-1140C must be dismissed, because Mr. Haddad has not established standing. See28U.S.C.
$ la98(a); see also Paradise Creations, Inc. v. UV Sales, Inc.,3l5 F.3d 1304, 1308 (Fed. Cir.
2003) ("[T]his court has determined that in order to assert standing for patent infringement, the
plaintiff must demonstrate that it held enforceable title to the patent at the inception of the
I aw su it ;') (emphasis in original).


      The Clerk of Court is hereby directed to dismiss the Complaint Nos. l5-1139C and
l5-1140c.


       IT IS SO ORDERED,
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 February, 1, 2014



Astornet Technologies, Inc.
18945 Cross Country Lane
Gaithersburg, MD 20879

In order to effectively pursue '844 patent inffingers BAE Systems, Inc., NCR Government
Solutions, LIC and MorphoTrust USA, LLC., t, patent US 7,639,844 {"'844 ") Title Hold€r agrees to assign
Astornet Technologies, Inc. ("Astornet") the exclusive rights in patent '844 to litigate the CAT/8pSS
matter against above mentioned companies, in the United States Federal Coun.

These exclu5ive rights are assigned to Astornet because Astornet wa5 the party that was severely
aff€cted by the business loss as a result of patent'8rt4 infringement since Astornet was the company to
pursue the'844 patent business with the federal government.

Termination
upon Astornet failure in its legal pursuit in the Federal District court in protection of patent '944
intellectual property, that is when the Federal District court final decision is not in favor of Astornet-
Astornet patent '844 assigned rights, as per this letter/agreement, shall b€ automatically terminated,
effective upon the Federal Court decision date. with or without termination notice.

Furthermore, Patent '844 Title Holder may promptly terminate the assigned exclusive rights slipulated
in this letter. This Agreement may be terminated by giving written notice of termination to Astornet,
such termination being immediately effective upon the giving of such notice of termination.


Terms
The term of this Agreement shall begin as of February 1, 2014 (the "tffective Date"). The term of this
Agreement shall expire on February 1,2019, unless terminated earlier gursuant to the terms of the
Termination Seclion.

Extensions
The term of lhis Agreement shall be extended for Five (SI additional periods of one (1) year if ,g44
Patent litle holder Sives Astornet written notice of such extension at least 90 days prior to February 1,
2019.

Etfect of Terminrtion
In lhe event of a termination pursuanl to the termination clause above or upon expiration of this
ASteement pursuant to the Terms and Extensions above, Astornet shall not have any ob,igation to
Patent '844 Holder, for compensation or for damages of any kind, and vice versa, 'grt4 patent hotder
shall not have any obligation to Astornet, for compensation or for damages of any kind.




Michael Haddad
'844 Sole Patent holder.
